AO 199A (Rev . 06/ 19) Order Setting Conditions of Release                                                       Page I of _   _   _ Pages




                                         UNITED STATES DISTRICT COURT
                                                                        for the
                                                                                                      FILED IN ~ EN COURT
                                                         Eastern District of North Carolina
                                                                                                      ON    lt U"L( 1,,0           ~
                                                                                                           Petwr A. Moore, Jr., Clerk
                    United States of America                               )
                                                                                                           us Dtatrtct Court
                                    v.                                                                     Eastern Dlltrlct of NC
                                                                           )
                                                                    .      )        CaseNo.     s:20-NJ-IS,L.J.-Jb
      Andre'f'J Sa.lvo.rn.ri, ~o..rc1a. -Smrth )
                                Defendant                                  )

                                         ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant ' s release is subject to these conditions:

(1)    The defendant must not violate federal, state, or local law while on release.

(2)    The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3)    The defendant must advise the court or the pretrial services office or supervising officer in writing before making
       any change of residence or telephone number.

(4)    The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
       the court may impose.
       The defendant must appear at:
                                                                                              Place




       on
                                                                          Date and Time


       If blank, defendant will be notified of next appearance.

(5)    The defendant must sign an Appearance Bond, if ordered.




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                                                         ADDITIONAL CONDITIONS OF RELEASE

        IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

    )       (6)
              The defendant is placed in the custody of:
              Person or organization
              Address (only if above is an organization)
              City and state _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _                                      Tel. No. - -- ---,------,--- --,-,--,-
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant' s appearance at all court proceedings, and (c) notify the court immediately
if the defendant violates a condition of release or is no longer in the custodian's custody.

                                                                               Signed: _ __ _ _ _ __ _ _ _ _ _ _ __
                                                                                                           Custodian                                    Date
(yJ )       (7)       The defendant must:
        ( y; )        (a) submit to supervision by and report for supervision to the     Un cl::ld s4at.e s 'VrDbatio n of.f, ~
                          telephone number        _ _ _ __ _ _ , no later than
            )         (b) continue or actively seek employment.
        (   )         (c) continue or start an education p~o,gram.
        ()( )         (d) surrender any passport to:       tn£ Uo 1+t d Sttd:es
        ()< )         (e) not obtain a passport or other international travel document.
        (         )   (f) abide by the following restrictions on personal association, residence, or travel :

                  ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                        including:

                  ) (h) get medical or psychiatric treatment:

                  ) (i) return to custody each _ _ _ _ _ at ____ o' clock after being released at _ _ _ _ _ o' clock for employment, schooling,
                        or the following purposes:

        (  ) U) maintain residence at a residential reentry center, and abide by the conditions of that facility.
        ex ) (k) not possess a firearm, destructive device, or other weapon.
        (~) (I) not use alcohol (         ) at all (       )< )
                                                          excessively.
        (  ) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                  medical practitioner.
           ) (n) submit to testing for a prohibited substance if required by the probation office or supervising officer. Testing may be used with random
                  frequency and may include urine testing, the wearing of a sweat patch, and/or any form of prohibited substance screening or testing.
                  The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited substance screening or testing.
             (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the probation office or
                  supervising officer.
           ) (p) participate in one of the following location restriction programs and comply with its requirements as directed:
                  (    ) (i) Curfew. You are restricted to your residence every day (          ) from     _ _ _ _ _ to _ _ _ _ _ , or (               ) as
                               approved by the probation office or supervising officer; or
                  (    ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services; medical,
                               substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities
                               approved in advance by the probation office or supervising officer; or
                       ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                               court appearances or other activities specifically approved by the court.
        (?()  (q) submit to the following monitoring and comply with all of the program~quirements and instructions provided:
                  ~ ) The defendant m st y (             ) all of the co t ofth~ro ram ( /') a portion of the location monitoring cost as follows :




                            (    ) Radio Frequency (RF) monitoring                       (    ) Voice Recognition
                            (    ) Global Positioning Satellite (GPS)                    (   ) Remote Alcohol Monitoring
            C'f. )      (r) report as soon as possible, to the probation office or supervising officer, every contact with law enforcement personnel,
                             including arrests, questioning, or traffic stops.
                      ) (s) submit to warrantless searches of person, residence, property or vehicle by the probation office or supervising officer.




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                                             ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENAL TIES AND SA CTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both .
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to : obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed . If you are convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                      Acknowledgment of the Defendant

      I acknowledge that I am the defendant in this case and that I am aware of the conditions ofrelease. I promise to obey all conditions
ofrelease, to appear as directed, and surrender to serve any sentence imposed . I am aware of the penalties and sanctions set forth above.




                                                                                          Defendant 's Signature



                                                                                              City and State



                                                  Directions to the United States Marshal

( V)The defendant is ORDERED released after processing.
(  ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
     has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before
     the appropriate judge at the time and place specified.


Date:
                                                                                       Judicial Officer 's Signature

                                                                        Robert T. Numbers, II, U.S . Magistrate Judge
                                                                                         Printed name and title ·




                     DI STRIBUTION :     COURT       DEFEN DANT   PROBATION OFF ICE      U.S. ATTORN EY          U.S. MARSHAL




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